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                        IN THE UNITED STATES DISRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

 BEVERLY BENNETT                                  CASE NO. 8:18-cv-1151
                      Plaintiff,

           v.                                     JUDGE: SUSAN C. BUCKLEW

 BANK OF AMERICA, N.A.
                                                  NOTICE OF COMPLIANCE
                      Defendant.

       In accordance with this Court’s Order issued on June 25, 2018, (Doc. No. 20), the

undersigned hereby submits his Notice of Compliance with Local Rule 2.02, of the Special

Admission to Practice Governing the Admission and Practice of Attorneys of the United

States District Court for the Middle District of Florida. The undersigned has completed the

requirements and has registered for CM/ECF filing.



                                           Respectfully submitted,

                                           /s/ Marc E. Dann
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                             CERTIFICATE OF SERVICE

I hereby certify that on the 5th day of July, 2018, a true and correct copy of the foregoing
Notice was served by electronic means on all counsel or parties of record on the service list.


                                           Respectfully submitted,

                                           /s/ Marc E. Dann
                                           Marc Dann, Esq. Ohio Reg. #0039425

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